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                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                            WESTERN DISTRICT

MICHELLE DAY, ADMINISTRATOR
OF THE ESTATE OF JAMES AVERY
DEWEESE, SR. AND ON BEHALF OF
THE WRONGFUL DEATH BENEFICIARIES
OF JAMES AVERY DEWEESE, SR;
RUTH DEWEESE, INDIVIDUALLY; and
MICHELLE DAY, INDIVIDUALLY                                         PLAINTIFFS

VS.                      CASE NO. 4:14-CV-0342 KGB

UNITED STATES OF AMERICA                                         DEFENDANT

           MOTION FOR PARTIAL AMENDMENT TO THE AMENDED
                       FINAL SCHEDULING ORDER

      1.    Plaintiffs ask the Court to modify the Amended Final Scheduling

Order entered by the Court on July 16, 2015 as reflected herein.

      2.    David Hodges is scheduled to have bi-lateral knee replacement

surgery on December 10 and will most likely be out of the office until January

10, although David Hodges anticipates taking care of some business, from

home, but because of the surgery on both knees the ability to come to the

office on a regular basis after the surgery on December 10 will be limited.

      3.    Lindsey Lorence, the attorney for the Defendant, United States of

America, has authorized David Hodges to state to the Court that she has no

objection to the relief sought herein.

      4.    The parties ask the Court to modify paragraph 4, expert disclosures
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and reports, to provide that the case-in-chief expert disclosures, including

reports, be changed until February 15, 2016. Also, the parties ask the Court

to modify the rebuttal expert disclosures including reports, which must be made

by March 15, 2016.

      5.    Plaintiffs ask for the relief sought herein.

                                     MICHELLE DAY, ADMINISTRATOR OF
                                     THE ESTATE OF JAMES AVERY
                                     DEWEESE, SR. AND ON BEHALF OF THE
                                     WRONGFUL DEATH BENEFICIARIES OF
                                     JAMES AVERY DEWEESE, SR; RUTH
                                     DEWEESE, INDIVIDUALLY; and MICHELLE
                                     DAY, INDIVIDUALLY, Plaintiffs


                                     By:    /s/David A. Hodges
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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2015, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which shall send
notification of such filing to the following:

                 Ms. Lindsey Mitcham Lorence
                 Assistant United States Attorney
                 P.O. Box 1229
                 Little Rock, AR 72203



                                        /s/ David Hodges
                                        DAVID HODGES




DH/psf/112                                3
